Case 1:07-cv-01935-RJL Document 23 Filed 09/29/08 Page 1 of 35

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

VITTORIO AMUSO

Federal Registration No. 38740-079
U.S. Penitentiary-Big Sandy

P. O. Box 2068

Inez, KY 41224,
Plaintiff

-VS- Civil Action No. 07-1935 (RJL)

DEPARTMENT OF JUSTICE, et al.
Defendants

PLAINTIFF'S RESPONSE TO DEFENDANTS'
MOTION FOR SUMMARY JUDGMENT

The plaintiff, VITTORIO AMUSO, pro se, respectfully represents unto this
Honorable Court as follows in support of his PLAINTIFF'S RESPONSE TO
DEFENDANTS' MOTION FOR SUMMARY JUDGMENT herein:

The plaintiff respectfully requests that this Honorable Court deny the defendants’
motion for summary judgment on the bases set forth herein on the ground that there are
genuine issues of material fact herein and the defendants are not entitled to judgment as
a matter of law. Fed.R.Civ.P. 56. In support of this responsive pleading, the plaintiff
respectfully submits the attached statement of material facts in genuine dispute and
opposing affidavit of the plaintiff. R EC E IVE D

SEP 29 2008

Y MAYER WHITTINGTON, CLERK
RANG U.S. DISTRICT COURT
 

Case 1:07-cv-01935-RJL Document 23 Filed 09/29/08 Page 2 of 35

INTRODUCTION

This case arose under the Freedom of Information Act (FOIA), 5 U.S.C. §552,
and the Privacy Act (PA), 5 U.S.C. §552a, and embraces the processing of the
plaintiff's FOIA requests by the United States Department of Justice (DOJ) and Federal
Bureau of Investigation (FBI). The Federal Bureau of Prisons (BOP) has also been
involved in fulfilling the plaintiff's request as a result of referrals from the FBI.

STANDARD FOR SUMMARY JUDGMENT

Summary judgment is required in cases where no genuine dispute exists as to any
material fact. Anderson v. Liberty Lobby, Inc., 477 U. S. 242 (1986). A genuine issue
of material fact is one that would change the outcome of the litigation. The burden is
on the moving party to demonstrate to the Court that there is an absence of evidence to
support the non-moving party's case. Sweats Fashions, Inc. v. Pannill Knitting Co.,
Inc., 833 F.2d 1560 (Fed Cir. 1987). Once the moving party has met this burden, the
non-moving party must proffer specific facts showing that a genuine issue exists for
trial. Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U. S. 574 (1986). In
other words, in order to avoid summary judgment, the plaintiff must present some
objective evidence that would enable the court to find he is entitled to relief. In
responding to a proper motion for summary judgment, the party who bears the burden
of proof on an issue at trial must "make a sufficient showing on an essential element of

[his] case" to establish a genuine dispute. Celotex Corp. v. Catrett, 477 U. S. 317
Case 1:07-cv-01935-RJL Document 23 Filed 09/29/08 Page 3 of 35

(1986).

In the current case, the FBI and the BOP have submitted documents which
purport to be declarations in support of this motion for summary judgment. The
declarations purport to provide the Court and the plaintiff with an explanation for the
procedures used in reviewing and processing the FBIHQ records responsive to the
plaintiffs FOIA/Privacy Act request, and purport to justify for the FBI information
which has been withheld from disclosure in full or in part pursuant to Privacy Act
Exemption (j)(2), 5 U.S.C. §552(a) (j)(2) and FOIA Exemptions 2, 6, 7(C), 7(D), 7(E)
and 7(F), 5 U.S.C. §§552(b)(2), (b)(6), (6)(7)(c), (6)(7))(D), (b)(7)(E) and (b)(7)(F).
The withholding of the three pages of information by the BOP was purportedly made
pursuant to 5 U.S.C. §552(b)(7)(C) and (b)(7)(F).

ARGUMENT

A. The FBI's Search for Records is Inadequate

The FBI has performed an inadequate search in response to the plaintiff's direct
FOIA requests. In responding to a FOJA request, an agency is under a duty to conduct
a reasonable search for response records. Oglesby v. U. S. Department of the Army,
920 F.2d 57 (D.C. Cir. 1990). This standard focuses on the method of the search
instead of its results, so that a search is not unreasonable simply because it fails to
produce relevant material. The adequacy of the search is "dependent upon the

circumstances of the case." Truitt v. Department of State, 897 F.2d 540 (D.C. Cir.
Case 1:07-cv-01935-RJL Document 23 Filed 09/29/08 Page 4 of 35

1995).

The agency has a burden of establishing that it has "made a good faith effort to
conduct a search for the requested records, using methods which can be reasonably
expected to produce the information requested." SafeCard Servs. v. SEC, 926 F.2d
1197 (D.C. Cir. 1991). Though the "affidavits submitted by an agency are ‘accorded a
presumption of good faith,'" the burden rests with the agency to demonstrate the
adequacy of its search. 926 F.2d at 1200.

The agency posits that a search of the indices at the Albany Field Office revealed
that records which may have been responsive to the plaintiffs FOIPA request were
destroyed (date unknown). By letter dated May 7, 2007, from FBIHQ to the
plaintiff, acknowledgment was made of the plaintiffs Albany FOIPA request and was
assigned FOIPA Number 1076768-000. By letter dated May 21, 2007 from FBIHQ to
the plaintiff, the plaintiff was advised that records which may be responsive to his
Albany FOIPA request were destroyed. The search of the indices to the CRS for
FBIHQ main files located no record. (Memorandum in Support, p. 2).

The plaintiff was never advised as to the nature of the records which were
destroyed, and he was simply advised that they were, in fact, destroyed. The only other
effort undertaken by the FBI to locate the records was through a search of the indices to
the CRS for FBIHQ main files. The agency acted in bad faith by failing to divulge the

nature of the records and by failing to search other available indices and records which
Case 1:07-cv-01935-RJL Document 23 Filed 09/29/08 Page 5 of 35

might have contained the destroyed records. The plaintiff cannot suggest other ways in
which the matter might have been searched in the absence of being advised as to the
nature of the records.

The Memorandum in Support evinces that the "FBI released some records to the
plaintiff, withheld other records pursuant to FOIA exemptions, and referred some
records to the Bureau of Prisons for direct response to the plaintiff." The agency acted
in clear-cut bad faith by tendering documents to the plaintiff with no information on
them, such as FBI 302's. The BOP made a unilateral decision to withhold the three
pages of information which it had relevant to the plaintiff's inquiry.

B. The FBI Improperly Withheld Records Pursuant to FOIA
Exemptions

1. FBI Improperly Applied Exemption 2
Title 5 U.S.C. §552(b)(2)(Exemption 2) exempts from mandatory disclosure

records "related solely to the internal personnel rules and practices of an agency."
Exemption 2 applies primarily to two types of materials: (1) internal agency matters so
routine or trivial that they could not be "subject to...a genuine and significant public
interest;" and (2) internal agency matters of some public interest "where disclosure may
risk circumvention" of statutes or agency regulations." Department of Air Force v.
Rose, 425 U. S. 352 (1976). Depending upon the nature of the information, documents

will fall within either the "high (b)(2) category" or the "low (b)(2) category."
Case 1:07-cv-01935-RJL Document 23 Filed 09/29/08 Page 6 of 35

The Memorandum In Support fails to advise the court and the plaintiff as to what
records were withheld under this exemption. When denying the plaintiff's request for
information, the agency kept the plaintiff in the blind about the nature of the
information. The plaintiff was told simply that the agency had information which was
denied under Exemption 2. The plaintiff was not given enough information to make a
determination as to whether or not his rights were denied.

The records which were given to the plaintiff were a joke. FBI 302's with all
information redacted does nothing to help the plaintiff and simply led to an expense of
copying for the government.

This section of the Memorandum In Support does not give the court sufficient
information to determine whether or not a violation exists. The plaintiff has not been
given enough information to enable him to ascertain whether or not his rights have been
violated. This section of the brief is obviously drafted to fit a variety of situations and
use in different proceedings, and it does an inadequate job in advising the court and the
plaintiff.

2. FBI Improperly Asserted Exemption 6

Exemption 6 of the FOIA protects "personnel and medical files and similar files
the disclosure of which would constitute a clearly unwarranted invasion of personal
privacy.” 5 U.S.C. §552(b)(6). "The Supreme Court has interpreted the phrase 'similar

files' to include all information that applies to a particular individual." Lepelletier v.
Case 1:07-cv-01935-RJL Document 23 Filed 09/29/08 Page 7 of 35

FDIC, 164 F.3d 37 (D.C. Cir. 1999). In order to determine whether there would be a
"clearly unwarranted invasion of personal privacy," the court must balance the interests
of protecting "an individual's private affairs from unnecessary public scrutiny," and the
"public's right to governmental information." Id.

The Memorandum In Support does not enunciate the aspects of the plaintiff's
request which was denied on the basis of Exemption 6. The plaintiff has not been given
enough information to make a determination as to whether he has been subjected to a
clearly unwarranted invasion of personal privacy, and whether the proper balance has
been achieved with respect to the interests of protecting an individual's private affairs
from unnecessary public scrutiny as opposed to the public's right to governmental
information. Until such time as the plaintiff is advised as to the nature of the
information at issue, including the capacity in which any name or identifying
information is withheld, he cannot determine whether his rights have been violated.

While it is true that FBI SAs referenced in the responsive records, such as the
FBI 302'S, maintain a substantial privacy interest in not having their identities
disclosed, the identities have heretofore been disclosed to the plaintiff at the time of the
investigation. Thus, the agency has no protected interest in denying the documents on
the basis of the SA's identity. The plaintiff is in a high security prison and could not
possibly target SAs for harassing inquiries for unauthorized access to investigative

materials.
Case 1:07-cv-01935-RJL Document 23 Filed 09/29/08 Page 8 of 35

(b)(6)-2 Names and/or Identifying Information of Third

Parties Who Provided Information to FBI

The defendants assert Exemption (b)(6)-2 to purportedly protect the names and/or
identifying data of individuals who assisted the FBI by providing information within
the records responsive to the plaintiff's request. The defendants assert that the largest
roadblock in successfully obtaining the desired information through an interview is the
fear by the interviewee that his or her identity could possibly be exposed and,
consequently, they could be harassed, intimidated or threatened with legal or economic
reprisal, or possible physical harm. This rationale is opaque in view of the fact that the
names of third parties have already been released in different parts of the proceedings,
and the defendant merely seeks documentation of the information provided.

The Memorandum in Support states, "The FBI has attempted to release all
segregable portions of the information provided by these individuals without revealing
their identities." (p. 18). The FBI provided the plaintiff with a stack of FBI 302's with
all of the information deleted or redacted without releasing the name of the party
providing the information or the information itself. The agency acted in bad faith
because the documents are completely worthless, e.g. there is no information set forth

on them.

(b)(6)-3 Names and/or Identifying Information of Third
Parties Merely Mentioned

The defendants asserted Exemption (b)(6)-3 in conjunction with Exemption (b)
Case 1:07-cv-01935-RJL Document 23 Filed 09/29/08 Page 9 of 35

(7)(C)-3 as justification for withholding the names and personal identifying information
of third parties who were merely mentioned in the documents responsive to the
plaintiff's request. The agency maintains that the third parties merely mentioned
maintain strong privacy interests in not having their identities disclosed, and that
disclosure of these third parties' names and identifying information in connection with
the investigation of plaintiff carries a strong negative connotation. The FBI has
determined that these third parties maintain a substantial privacy interest in not having
their identity disclosed. The agency reports that after identifying the substantial privacy
interests these individuals maintain, the FBI balanced their right to privacy against the
public interest in the disclosure.

The defendants have not given the plaintiff sufficient information from which to
make a determination that the balance between the right to privacy against the public
interest in the disclosure is in favor of the right to privacy. The plaintiff has not been
advised of the context in which the person's name is mentioned and other information
with which to make that judgment. Again, the plaintiff has been left in the dark with

respect to the information that is being withheld.

(b)(6)-4 Names and/or Identifying Information Concerning

Local Law Enforcement Personnel

 

The defendants asserted Exemption (b)(6)-4 to justify the withholding of the

name and rank of a law enforcement officer of the Morris County, NJ Prosecutor's
Case 1:07-cv-01935-RJL Document 23 Filed 09/29/08 Page 10 of 35

Office and a law enforcement officer of the New York City Police Department. These
individuals were supposedly acting in their official capacity and assisted in the
interview of a confidential source. The defendants assert that there is no public interest
to be served by releasing this information as this information does not shed light on the
FBI's performance of its mission.

This information certainly does shed light on the FBI's performance of its mission
because it describes the extent to which the FBI interacts with state and local law
enforcement agencies. The fact that the FBI is willing to disclose the location and
office of the officers concerned is indicative of how little privacy is attached to the
information. The agency is simply making it difficult for the plaintiff to obtain any
information at all.

(b)(6)-5 |= Names and/or Identifying Information of Third
Parties of Investigative Interest

Exemption (b)(6)-5 is asserted in conjunction with Exemption (b)(7)(C)-5 to
protect the names and identifying information of third party individuals who are of
investigative interest to the FBI and/or other law enforcement agencies. The agency
asserts, inter alia, that this information includes individual names and other personal
information.

The defendants advise the court that being linked with any law enforcement

investigation carries a strong negative connotation and a stigma. The relevant

10
Case 1:07-cv-01935-RJL Document 23 Filed 09/29/08 Page 11 of 35

information in this proceeding concerns people whose identities were disclosed to the
public many years ago, and the public policy interest in withholding their identities has
eroded over time. The defendants profess to balancing the public's interest in
disclosure against the individual's right to privacy, but it would have a difficult time
convincing a reasonable person that a person mentioned in a report 18 years ago has a
sufficient privacy interest to override the public's interest in disclosure at this time.
The defendants state that they made a determination that this information would
not enlighten the public on how the FBI conducts its internal operations and
investigations. However, this information would disclose how the agency assembles
information to create a case against one individual. Thus, refusal to release this
information is a clearly unwarranted violation of the public's interest in disclosure.

3. FBI Does Not Meet the Threshold Requirements of
Exemption 7

As a condition precedent to invoking any of the harms enumerated in Exemption
7, an agency must first demonstrate that the records or information at issue were
compiled for law enforcement purposes. Law enforcement agencies such as the FBI
must demonstrate that the records at issue are related to the enforcement of federal laws
and that the enforcement activity is within the law enforcement duty of that agency.

The agency asserts that the various records at issue in this case were compiled for

criminal law enforcement purposes during the course of the FBI's performance of its

1l
Case 1:07-cv-01935-RJL Document 23 Filed 09/29/08 Page 12 of 35

law enforcement mission, including the investigation of criminal activities. Yet, the
agency withholds the name and rank of a law enforcement officer of the Morris County,
NJ Prosecutor's Office and a law enforcement officer of the New York City Police
Department.

Rather than demonstrating that the records at issue are related to the enforcement
of federal laws and that the enforcement activity is within the law enforcement duty of
the agency, the agency redacted all of the information upon the documents extended to
such an extent that one cannot deduce whether the documents were compiled by a
government agency. The court is left to simply take the defendants' word that the
documents related to the enforcement of federal laws and that the enforcement activity
is within the law enforcement duty of the agency.

In this case, the agency has not demonstrated that the disclosure of the documents
would invade personal privacy, reveal the identities of confidential sources, reveal
sensitive law enforcement techniques, and/or reveal information which if released could
reasonably cause harm and/or endanger the life or physical safety of any individual.
The agency simply makes a bald assertion that in this investigation, the harm that could
reasonably be expected to result from disclosure is invasion of personal privacy,
revealing the identities of confidential sources, revealing a sensitive law enforcement

technique, and endangering the life or physical safety of individuals.

4. FBI Improperly Applied Exemption 7(C)

12
Case 1:07-cv-01935-RJL Document 23 Filed 09/29/08 Page 13 of 35

The FOIA, 5 U.S.C. §552, does not apply to matters that are: "(7) records of
information compiled for law enforcement purposes, but only to the extent that the
production of such law enforcement records or information...(C) could reasonably be
expected to constitute an unwarranted invasion of personal privacy..." This exemption
protects the identities of suspects and other persons of investigatory interest who are
identified in agency records in connection with law enforcement investigations.
Reporters Comm. for Freedom of the Press v. U. S. Department of Justice, 816 F.2d
730 (D.C. Cir. 1987).

The defendants state: "Indeed, an agency in a FOIA case may categorically
assert Exemption 7(C) to protect the identities of witnesses or other persons mentioned
in law enforcement files in such a way as to associate them with criminal activity."
Under this unduly broad construction of Exemption 7(C), the agency could assert that
anyone is associated with criminal activity and thereby avoid disclosure of materials
concerning them. The legislature did not intend this exemption to be so all-
encompassing.

The FBI has not performed the proper balancing function required for this
exemption. The FBI is required to balance the privacy interests of the individuals
mentioned in the records against any public interest in disclosure. If the proper
balancing function were performed, it would be clear that the public interest in

disclosure, in this case, overrides the privacy interests of the individuals mentioned in

13
Case 1:07-cv-01935-RJL Document 23 Filed 09/29/08 Page 14 of 35

records. Again, the agency makes the blanket assertion that the balancing
function was performed, but the Court is left to take the agency's word rather
than being given the benefit of a balancing analysis.

(b)(7)(C)-1 Names and/or Identifying Information of FBI
Special Agents and Support Employees

The defendants asserted Exemption (b)(7)(C)-1 in conjunction with
Exemption (b)(6)-1 in an effort to protect the names and/or identifying
information of FBI SA's and support personnel responsible for conducting,
assisting with and/or supervising the investigative activities reported in the
documents concerning the plaintiff and others. These responsibilities include
interviewing cooperating witnesses, sources and reviewing materials compiled as
a result of the investigation of the plaintiff and others.

The defendants assert that "Many of these people carry grudges which last
for years and they may seek any excuse to harass the SA deemed responsible for
these intrusions. The publicity associated with the release of the SA's identity in
connection with a particular law enforcement investigation could trigger hostility
toward the SA." These allegations are ridiculous vis-a-vis the current FOIA
request because the plaintiff is incarcerated in a maximum security prison some
18 years after the fact. He merely wishes to learn about his case for legal reasons

and has no grudge which he harbors against any FBI or other government

14
Case 1:07-cv-01935-RJL Document 23 Filed 09/29/08 Page 15 of 35

employee. The FBI SAs referenced in the responsive records do not maintain the
substantial privacy interest in not having their identities disclosed that they would
for a recent investigation. In fact, the SAs concerned have probably retired long
ago.

The defendants assert that the FBI examined the records at issue to
determine whether there was any public interest that outweighed the substantial
privacy interests of the FBI SAs and support employees, and that the "FBI could
not identify any discernible public interest." (motion, p. 25). There is no effort
to demonstrate the balancing. Rather, the defendants make the conclusory
allegation that the balancing was performed.

The defendants assert that there have been no allegations that the FBI SAs
or the professional support employees engaged in any type of significant
misconduct which would establish a public interest in the disclosure. If the FBI
will not release the names and identities of the actors involved, there is no way
for the plaintiff to ascertain whether they engaged in any type of significant
misconduct which would establish a public interest in the disclosure.

(b)(7)(C)-2 Names and/or Identifying Information of Third
Parties Who Provided Information to FBI

The defendants asserted Exemption (b)(7)(C)-2 in conjunction with (b)(6)-

2 to protect the names and/or identifying data of individuals who assisted the FBI

15
Case 1:07-cv-01935-RJL Document 23 Filed 09/29/08 Page 16 of 35

by providing information within the records responsive to the plaintiff's request.
As a matter of fact, the FBI did not release the names or identities of any third
parties who assisted the FBI by providing information. Yet, the FBI asserts that
"The FBI has attempted to release all segregable portions of the information
provided by these individuals without revealing their identities." What the
release referred to amounts to is a stack of FBI 302's which have no information
on them, which are useless to the plaintiff.

The defendants asserted that "Balancing this privacy interest against the
public interest, the FBI found no legitimate public interest to be served by
releasing the identities of private citizens who provided information to the FBI
because it would not shed light on the operations and activities of the FBI." To
the contrary, the release of information as to the third parties involved would
shed light on the manner in which the FBI deals with third parties, which is
integral to the operations and activities of the FBI.

((b)(7)(C)-3 Names and/or Identifying Information
of Third Parties Merely Mentioned

The defendants asserted Exemption (b)(7)(c)-3 in conjunction with
Exemption (b)(6)-3 to withhold the names and personal identifying informatiion
of third parties who were merely mentioned in the documents responsive to the

plaintiff's request. These individuals are not of investigative interest to the FBI,

16
Case 1:07-cv-01935-RJL Document 23 Filed 09/29/08 Page 17 of 35

imagined and not real. The plaintiff is simply trying to collect information of a
legal nature, and he has no intent to harass anybody involved in his investigation.
There is a great public interest to be served by releasing this information because
this information sheds light on the FBI's cooperation with other police entities.
The FBI has improperly asserted Exemption (b)(7)(C)-4.

(b)(7)(C)-5 Names and/or Identifying Information About
Third Parties of Investigative Interest

Exemption (b)(7)(C)-5 has been asserted by the defendants in conjunction
with Exemption (b)(6)-5 to protect the names and identifying information of third
party individuals who were of investigative interest to the FBI and other law
enforcement agencies. The FBI withheld identifying information including
addresses and other personal information. The agency made a determination that
these individuals maintain a substantial privacy interest in not having their
identities disclosed.

The defendants asserted that in making a determination whether to release
the names and personal information concerning these third parties, "the public's
interest in disclosure was balanced against the individual's right to privacy."
However, there is no evidence of balancing having taken place, and the agency
has not given the plaintiff sufficient information from which to determine

whether the agency is erroneous in its determination.

18
Case 1:07-cv-01935-RJL Document 23 Filed 09/29/08 Page 18 of 35

5. FBI Improperly Applied Exemption 7(D)

Exemption 7(D), namely, 5 U.S.C. §552(b)(7)(D), exempts from disclosure
material that:

could reasonably be expected to disclose the identity of a
confidential source including a State, local or foreign agency or
authority or any private institution which furnished information on
a confidential basis, and, in the case of a record or information
compiled by a criminal law enforcement authority in the course of
a criminal investigation, or by an agency conducting a lawful
national security intelligence investigation, information furnished
by a confidential source.

The defendants posit that Exemption 7(D) recognizes that information
furnished by third parties cooperating with federal, state, or local law
enforcement investigations is, by its very nature, confidential. The statute
extends protection from disclosure to all the information furnished by third party-
sources, as well as the actual identity of the cooperating individual, if there has
been an explicit assurance of confidentiality, or circumstances exist from which
such an assurance could reasonably be inferred. U. S. Department of Justice v.
Landano, 508 U. S. 165 (1993).

There is no basis for inferring that all information furnished by third parties
cooperating with federal, state, or local law enforcement investigations is, by its

very nature, confidential. There is a host of information furnished by third

parties which is not confidential but would be helpful to the plaintiff for his

19
Case 1:07-cv-01935-RJL Document 23 Filed 09/29/08 Page 19 of 35

purposes. Extending the protection of the statute to all information furnished is
both impractical and unreasonable. The FBI, likewise, improperly "recognizes
the distinct likelihood that the identity of a source may often be determined from
an analysis of the information furnished by the source himself."
(b)(7)(D)-1 Names and/or Identifying Data and Information
Provided by Third Parties under an "Implied"
Assurance of Confidentiality
The defendants assert Exemption (b)(7)(D)-1 in conjunction with (b)(6)-2
and (b)(7)(c)-2 to protect the names, identifying information and information
provided by third parties to the FBI under an implied grant of confidentiality
during the course of the FBI's investigation of the plaintiff and others. The
manner in which the "implied grant of confidentiality" is inferred is vague and
has no basis in fact. Moreover, the defendants have not given the plaintiff
sufficient information from which to make a determination independently that an
implied grant of confidentiality is created. The Court and the plaintiff are left to
accept the agency's rhetoric that an implied grant of confidentiality does, in fact,
exist.
(b)(7)(D)-2 Source File Numbers
Exemption (b)(7)(D)-2 has been asserted by the defendants in conjunction

with Exemption (b)(2)-1 to protect the informant file numbers of permanent

confidential symbol number sources of the FBI. The agency has not given the

20
Case 1:07-cv-01935-RJL Document 23 Filed 09/29/08 Page 20 of 35

plaintiff sufficient information from which to determine whether informant file
numbers of permanent confidential symbol number sources of the FBI are
germane to the investigations about which he is seeking information. The FBI
has merely provided a stack of primarily blank FBI 302's which have numbers
but there is no way of ascertaining the significance of the numbers given the
information provided.

(b)(7)(D)-3 Source Symbol Numbers and Information
Furnished by Symbol Numbered Sources

The defendants have asserted Exemption (b)(7)(D)-3 in conjunction with
Exemption (b)(2)-2 as a basis for withholding FBI source symbol numbers and
information provided by the symbol numbered sources. The plaintiff has not
been provided sufficient information from which a determination of relevance
can be made with respect to the request for FOIA at issue.

(b)(7)(D)-4 Identifying Data and Information Provided by
Source Symbol Numbered Informants

Exemption (b)(7)(D)-4 was asserted to withhold the identifying data and
information received from symbol numbered sources with the understanding that
it would be held in confidence. As a matter of policy and practice, all symbol
numbered sources are given an express grant of confidentiality. The plaintiff has
not been provided with sufficient information to make a determination as to

whether or not symbol numbered sources are relevant to the purposes for which

21
Case 1:07-cv-01935-RJL Document 23 Filed 09/29/08 Page 21 of 35

he seeks information.

6. FBI Improperly Applied Exemption 7(E)

Exemption 7(E) of the FOIA provides protection for all information
compiled for law enforcement purposes when release "would disclose techniques
and procedures for law enforcement investigations or prosecutions, or would
disclose guidelines for law enforcement investigations or prosecutions if such
disclosure could reasonably be expected to risk circumvention of the law." 5
U.S.C. §552(b)(7)(E).

The first clause of Exemption 7(E) affords "categorical" protection for
"techniques and procedures" used in law enforcement investigations or
prosecutions. Smith v. Bureau of Alcohol, Tobacco, and Firearms, 977 F.Supp.
496 (D.D.C. 1997). The blank 302 forms released to the plaintiff give no
evidence that any techniques and procedures used in law enforcement
investigations or prosecutions were involved. Rather, the forms appear to be
documentations of somewhat ordinary interviews. Thus, there is no basis for
withholding anything that would disclose any techniques or procedures employed
by the FBI.

(b)(7)(E)-1 Internal Techniques and Procedures and
Information Pertaining to FBI Undercover Operation

The defendants assert Exemption (b)(7)(E)-1 in conjunction with

22
Case 1:07-cv-01935-RJL Document 23 Filed 09/29/08 Page 22 of 35

Exemption (b)(2)-3 to protect procedures and techniques used by FBI Special
Agents during the investigation of plaintiff. The defendants state, "If the FBI
were to disclose the procedures as to how it conducts undercover operations and
release details of the specific techniques used during the undercover operation it
could jeopardize any future criminal investigations and undercover operations
conducted by the FBI." The agency has not released sufficient information to the
plaintiff from which he can make a determination that the exemption has been
violated in this instance.

7. FBI Improperly Applied Exemption 7(F)

The defendants cited Exemption 7(F) to protect symbol number informants
and the names and identifying information concerning cooperating witnesses who
provided information to the FBI concerning the criminal activities of the plaintiff.
The exemption was allegedly asserted to protect information, the release of
which could reasonably be expected to endanger the life and/or physical safety of
these cooperating individuals in light of the crimes reportedly committed by the
plaintiff and members of organized crime families.

The defendants assume that the plaintiff is a member of an organized crime
family, and there is no basis for making such an assumption. It would not be a
great risk to release the identities of cooperating witnesses because the plaintiff is

merely seeking information for his own legal purposes.

23
Case 1:07-cv-01935-RJL Document 23 Filed 09/29/08 Page 23 of 35

D. FBI Has Not Released All Segregable Information

The defendants represent that they have followed a case from the Court of
Appeals for the District of Columbia Circuit holding that a District Court
considering a FOIA action has "an affirmative duty to consider the segregability
issue sua sponte." Trans-Pacific Policing Agreement v. United States Customs
Service, 177 F.3d 1022 (D.C.Cir. 1999). The FOIA requires that, if a record
contains information that is exempt from disclosure, any "reasonably
segregable" information must be disclosed after deletion of the exempt
information unless the non-exempt portions are "inextricably intertwined with
exempt portions." 5 U.S.C. §552(b); Mead Data Cent., Inc. v. United States
Department of the Air Force, 566 F.2d 242 (D. C. Cir. 1977).

The FBI has not disclosed all "reasonably segregable" information which
must be disclosed. The FBI provided 147 pages of documents, mostly FBI 302's,
to the plaintiff. These documents included a few newspaper articles and
contained no information whatsoever that had not been redacted and withheld
from the plaintiff. The substantive information on the forms as well as the
identities of the parties to the conferences were susceptible to segregation in such
a manner that the plaintiff could have been provided with the information without
violating the FOIA as well as agency standards. It is a misnomer to state, "The

FBI has carefully...released 147 pages with redactions" to the plaintiff when it is

24
Case 1:07-cv-01935-RJL Document 23 Filed 09/29/08 Page 24 of 35

clear that the plaintiff has been given nothing of any substance or benefit.
CONCLUSION
The defendants have not demonstrated that they responded properly to the
plaintiff's FOIA request, releasing to him all records and portions thereof not
exempted from disclosure. Accordingly, the plaintiff respectfully requests that
their motion for summary judgment be denied.

VITTORIO AMUSO
Pro Se

CERTIFICATE OF SERVICE
I, VITTORIO AMUSO, pro se, do hereby certify that true copies of the
foregoing PLAINTIFF'S RESPONSE TO DEFENDANTS' MOTION FOR
SUMMARY JUDGMENT and accompanying documents were forwarded via
first-class U. S. Mail, postage pre-paid, to Charlotte A. Abel, Assistant United
States Attorney, United States Attorney's Office, Civil Division, 555 4th Street,
N.W., Washington, D. C. 20530, this 3444 day of September, 2008.

VITTORIO AMUSO

25
Case 1:07-cv-01935-RJL Document 23 Filed 09/29/08 Page 25 of 35

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

VITTORIO AMUSO,
Plaintiff

-VS- Civil Action No. 07-1935 (RJL)

DEPARTMENT OF JUSTICE, et al.,
Defendants

STATEMENT OF MATERIAL
FACTS IN GENUINE DISPUTE

The plaintiff, VITTORIO AMUSO, pro se, pursuant to LCvR 7(h),
respectfully submits the current STATEMENT OF MATERIAL FACTS IN
GENUINE DISPUTE. The affidavit of VITTORIO AMUSO attached hereto
and filed herewith supports the plaintiffs STATEMENT OF MATERIAL
FACTS IN GENUINE DISPUTE.

1. The FBI has performed an inadequate search in response to the
plaintiff's direct FOIA requests. Though the affidavits submitted by an agency
are accorded a presumption of good faith, the burden rests with the agency to
demonstrate the adequacy of its search.

The agency posits that a search of the indices at the Albany Field Office

revealed that records which may have been responsive to the plaintiff's FOIPA
Case 1:07-cv-01935-RJL Document 23 Filed 09/29/08 Page 26 of 35

request were destroyed (date unknown). The plaintiff was never advised as to the
nature of the records which were destroyed, and he was simply advised that they
were, in fact, destroyed. The only other effort undertaken by the FBI to locate
the records was through a search of the indices to the CRS for FBIHQ main files.
The agency acted in bad faith by failing to divulge the nature of the records and
by failing to search other available indices and records which might have
contained the destroyed records.

2. The FBI released some records to the plaintiff, withheld other records
pursuant to FOIA exemptions, and referred some records to the Bureau of Prisons
for direct response to the plaintiff. The agency acted in clear-cut bad faith by
tendering documents to the plaintiff with no information on their face, such as
FBI 302's. The BOP made an improper, unilateral decision to withhold the three
pages of information which it had relevant to the plaintiff's inquiry.

3. The FBI improperly applied Exemption 2. The agency failed to advise
the court and the plaintiff as to what records were withheld under this exemption.
When denying the plaintiff's request for information, the agency kept the plaintiff
in the blind about the nature of the information. The plaintiff was told simply
that the agency had information which was denied under Exemption 2. The
plaintiff was not given enough information to make a determination as to whether

or not his rights were denied.
Case 1:07-cv-01935-RJL Document 23 Filed 09/29/08 Page 27 of 35

4. The FBI improperly asserted Exemption 6. In order to determine
whether there would be a "clearly unwarranted invasion of personal privacy," the
court must balance the interests of protecting "an individual's private affairs from
unnecessary public scrutiny," and the public's right to governmental information.
The plaintiff has not been given enough information to make a determination as
to whether anyone would be subjected to a clearly unwarranted invasion of
personal privacy, and whether the proper balance has been achieved with respect
to the interests of protecting an individual's private affairs from unnecessary
public scrutiny as opposed to the public's right to governmental information.

5. While it is true that FBI SAs referenced in the responsive records, such
as the FBI 302's, maintain a substantial privacy interest in not having their
identities disclosed, the identities have heretofore been disclosed to the plaintiff
at the time of the investigation. Thus, the agency has no protected interest in
denying the documents on the basis of the SA's identity.

6. The defendants asserted Exemption (b)(6)-4 to justify the withholding
of the name and rank of a law enforcement officer of the Morris County, NJ
Prosecutor's Office and a law enforcement officer of the New York City Police
Department. The defendants assert that there is no public interest to be served by
releasing this information as this information does not shed light on the FBI's

performance of its mission.
Case 1:07-cv-01935-RJL Document 23 Filed 09/29/08 Page 28 of 35

This information does shed light on the FBI's performance of its mission
because it describes the extent to which the FBI interacts with state and local law
enforcement agencies. The fact that the FBI is willing to disclose the location
and office of the officers concerned is indicative of how little privacy is attached
to the information.

7. Exemption (b)(6)-5 is asserted in conjunction with Exemption (b)(7)
(C)-5 to protect the names and identifying information of third party individuals
who are of investigative interest to the FBI and/or other law enforcement
agencies. The agency asserts, inter alia, that this information includes individual
names and other personal information.

The relevant information in this proceeding concerns people whose
identities were disclosed to the public many years ago, and the public policy
interest in withholding their identities has eroded over time. The agency would
have a difficult time convincing a reasonable person that a person mentioned in a
report 18 years ago has a sufficient privacy interest to override the public's
interest in disclosure at this time.

8. The FBI does not meet the threshold requirements of Exemption 7. As
a condition precedent to invoking any of the harms enumerated in Exemption 7,
an agency must first demonstrate that the records or information at issue were

compiled for law enforcement purposes. Rather than demonstrating that the
Case 1:07-cv-01935-RJL Document 23 Filed 09/29/08 Page 29 of 35

records at issue are related to the enforcement of federal laws and that the
enforcement activity is within the law enforcement duty of the agency, the
agency redacted all of the information upon the documents extended to such an
extent that one cannot deduce whether the documents were compiled by a
government agency. The court is left to simply take the defendant's word that the
documents related to the enforcement of federal laws and that the enforcement
activity is within the law enforcement duty of the agency. The agency has not
demonstrated that the disclosure of the documents would invade personal
privacy, reveal the identities of confidential sources, reveal sensitive law
enforcement techniques, and/or reveal information which if released could
reasonably cause harm and/or endanger the life or physical safety of any
individual.

9. The FBI improperly applied Exemption 7(C). The FBI has not
performed the proper balancing function required for this exemption. The FBI is
required to balance the privacy interests of the individuals mentioned in the
records against any public interest in disclosure. If the proper balancing function
were performed, it would be clear that the public interest in disclosure, in this
case, overrides the privacy interests of the individuals mentioned in the relevant
records. The Court is left to take the agency's word rather than being given the

benefit of a balancing analysis.
Case 1:07-cv-01935-RJL Document 23 Filed 09/29/08 Page 30 of 35

10. The defendants asserted Exemption (b)(7)(C)-1 in conjunction with
Exemption (b)(6)-1 in an effort to protect the names and/or identifying
information of FBI SA's and support personnel responsible for conducting,
assisting with and/or supervising the investigative activities reported in the
documents concerning the plaintiff and others. The FBI SA's referenced in the
responsive records do not maintain the substantial privacy interest in not having
their identities disclosed that they would for a recent investigation. In fact, the
SA's concerned have probably retired long ago.

11. The defendants asserted Exemption (b)(7)(C)-2 in conjunction with (b)
(6)-2 to protect the names and/or identifying data of individuals who assisted the
FBI by providing information within the records responsive to the plaintiff's
request. The FBI did not release the names or identities of any third parties who
assisted the FBI by providing information. What the FBI released is a stack of
FBI 302's which contain no information, all of which are useless to the plaintiff.
The release of information as to the third parties involved would shed light on the
manner in which the FBI deals with third parties, which is integral to the
operations and activities of the FBI.

12. Exemption (b)(7)(C)-4 has been asserted by the defendants in
conjunction with Exemption (b)(6)(4) to withhold the names and ranks of law

enforcement officers of the New Jersey and New York City Police Departments.
Case 1:07-cv-01935-RJL Document 23 Filed 09/29/08 Page 31 of 35

The agency submits that releasing the identity of law enforcement employees
could subject them to unnecessary, unwarranted harassment which could
constitute an unwarranted invasion of privacy. There is a great public interest to
be served by releasing this information because this information sheds light on
the FBI's cooperation with other police entities.

13. Exemption (b)(7)(C)-5 has been asserted by the defendants in
conjunction with Exemption (b)(6)-5 to protect the names and identifying
information of third party individuals who were of investigative interest to the
FBI and other law enforcement agencies. The FBI withheld identifying
information including addresses and other personal information.

The defendants asserted that in making a determination whether to release
the names and personal information concerning these third parties, "the public's
interest in disclosure was balanced against the individual's right to privacy."
There is no evidence, however, of balancing having taken place.

14. The FBI improperly applied Exemption 7(D). The defendants posit
that Exemption 7(D) recognizes that information furnished by third parties
cooperating with federal, state, or local law enforcement investigations is, by its
very nature, confidential. There is no basis for inferring that all information
furnished by third parties cooperating with federal, state, or local law

enforcement investigations is, by its very nature, confidential. There is a host of
Case 1:07-cv-01935-RJL Document 23 Filed 09/29/08 Page 32 of 35

information furnished by third parties which is not confidential but would be
helpful to the plaintiff for his purposes.

15. The defendants assert Exemption (b)(7)(D)-1 in conjunction with (b)
(6)-2 and (b)(7)(c)-2 to protect the names, identifying information and
information provided by third parties to the FBI under an implied grant of
confidentiality during the course of the FBI's investigation of the plaintiff and
others. The manner in which the "implied grant of confidentiality" is inferred is
vague and has no basis in fact.

16. Exemption (b)(7)(D)-2 has been asserted by the defendants in
conjunction with Exemption (b)(2)-1 to protect the informant file numbers of
permanent confidential symbol number sources of the FBI. The FBI has merely
provided a stack of primarily blank FBI 302's which have numbers but there is no
way of ascertaining the significance of the numbers given the information
provided.

17. Exemption 7(E) of the FOIA provides protection for all information
compiled for law enforcement purposes when release "would disclose techniques
and procedures for law enforcement investigations or prosecutions, or would
disclose guidelines for law enforcement investigations or prosecutions if such
disclosure could reasonably be expected to risk circumvention of the law." The

blank 302 forms released to the plaintiff give no evidence that any techniques and
Case 1:07-cv-01935-RJL Document 23 Filed 09/29/08 Page 33 of 35

procedures used in law enforcement investigations or prosecutions were
involved. Thus, there is no basis for withholding anything that would disclose
any techniques or procedures employed by the FBI.

18. The defendants assert Exemption (b)(7)(E)-1 in conjunction with
Exemption (b)(2)-3 to protect procedures and techniques used by FBI Special
Agents during the investigation of the plaintiff. The defendants state, "If the FBI
were to disclose the procedures as to how it conducts undercover operations and
release details of the specific techniques used during the undercover operation it
could jeopardize any future criminal investigatiions and undercover operations
conducted by the FBI." The agency has not released sufficient information to the
plaintiff from which he can make a determination that the exemption has or has
not been violated in this instance.

19. The FBI improperly applied Exemption 7(F). The exemption was
allegedly asserted to protect information, the release of which could reasonably
be expected to endanger the life and/or physical safety of these cooperating
individuals in light of the crimes reportedly committed by the plaintiff and
members of organized crime families. The defendants assume, without credible
evidence, that the plaintiff is a member of an organized crime family, and there is
no basis for making such an assumption. The only evidence that the plaintiff is a

member of an organized crime family is derived from the testimony of murderers
Case 1:07-cv-01935-RJL Document 23 Filed 09/29/08 Page 34 of 35

and sewer dwellers who never have spent a day in prison. It would not be a great
risk to release the identities of cooperating witnesses because the plaintiff is
merely seeking information for his own legal purposes.

20. The FOIA requires that, if a record contains information that is exempt
from disclosure, "any reasonably segregable" information must be disclosed after
deletion of the exempt information unless the non-exempt portions are
"inextricably intertwined with exempt portions." The FBI provided 147 pages of
documents, mostly FBI 302's, to the plaintiff. These documents included a few
newspaper articles and contained no information whatsoever that had not been
redacted and withheld from the plaintiff. The substantive information on the
forms as well as the identities of the parties to the conferences were susceptible
to segregation in such a manner that the plaintiff could have been provided with
the information without violating the FOIA as well as agency standards.

21. The Federal Bureau of Prisons withheld three pages of information
from the plaintiff. There has been no evidence presented as to the nature of the
information withheld and the legal basis therefor.

GIVEN under my hand this 32.4 day of September, 2008.

VITTORIO AMUSO
Pro Se

10
Case 1:07-cv-01935-RJL Document 23 Filed 09/29/08 Page 35 of 35

CERTIFICATE OF SERVICE
I, VITTORIO AMUSO, pro se, do hereby certify that a true copy of the
foregoing STATEMENT OF MATERIAL FACTS IN DISPUTE was duly
forwarded via first-class U. S. Mail, postage pre-paid, to Charlotte A. Abel,
Assistant United States Attorney, United States Attorney's Office, Civil Division,

555 4th Street, N.W., Washington, D. C. 20530, this 29+4, day of September,

VITTORIO AMUSO

2008.
